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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

 JED WALLACE,                                   §
 STREET RELATIONS, INC.,                        §
                                                §
        Plaintiffs,                             §
                                                §
 V.                                             §                CASE NO. 1:25-cv-00163-DAE
                                                §
 BLAKE LIVELY,                                  §
                                                §
        Defendant.                              §

                                            ORDER

       The Court, having considered Defendant Blake Lively’s (“Lively”) Unopposed Motion to

Extend Deadline for Defendant to Respond to Plaintiffs’ First Amended Complaint (“Motion”),

finds that the Motion is meritorious and should be granted.

       IT IS THEREFORE ORDERED that the Motion is GRANTED.

       IT IS FURTHER ORDERED that Lively’s deadline to respond to Plaintiffs’ First

Amended Complaint is extended from May 9, 2025 to May 16, 2025.

       IT IS SO ORDERED.

       Signed this ______ day of ____________ 2025.



                                                    _______________________________
                                                    THE HONORABLE DAVID A. EZRA
                                                    UNITED STATES DISTRICT JUDGE
